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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,                                          Civil Action No. 23 Civ. 1346 (JSR)
                 Plaintiff,
      v.                                              Hon. Jed S. Rakoff
 TERRAFORM LABS, PTE. LTD. and DO
 HYEONG KWON,

                        Defendants.

  MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR KWON DO HYEONG

       Pursuant to Rule 1.4 of the Local Rules of the United States District Courts for the

Southern and Eastern Districts of New York (“Local Rules”), the undersigned counsel

respectfully move the Court to allow their withdrawal as counsel of record for Defendant Kwon

Do Hyeong in the above-captioned proceeding.

       1.      Local Civil Rule 1.4 provides that an attorney of record for a party may, upon a

showing of “satisfactory reasons for withdrawal,” be granted leave of court to withdraw. U.S.

Dist. Ct. Rules S. & E.D.N.Y., Civ Rule 1.4. For the reasons stated below, all counsel for

Dentons, US LLP (“Dentons”) request to withdraw from representing Mr. Kwon in this matter.

       2.      Counsel’s request to withdraw may be granted where there will not be a high

degree of prejudice to the plaintiff or disruption of the court’s schedule. Karimian v. Time

Equities, Inc., No. 10 Civ. 3773 (AKH) (JCF), 2011 WL 1900092, at *3 (S.D.N.Y. May 11,

2011) (“This is not a case in which the potential prejudice to the plaintiff or disruption of the

court’s schedule is so great that withdrawal should be denied.”).

       3.      The reason for this request is that Mr. Kwon has consented to being represented

by Kaplan, Hecker & Fink, LLP (“Kaplan Hecker”) in this matter. Indeed, Mr. Kwon is now

separately represented by Kaplan Hecker attorneys who have filed their appearances at Dkt. Nos.



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146, 147, and 148. Dentons’ withdrawal will therefore cause no delay in the trial and no

prejudice to Mr. Kwon or to opposing counsel, the U.S. Securities and Exchange Commission.

       4.     Specifically, Dentons requests that the Court grant this motion with respect to the

following appearances:

              •   Dkt. No. 14: Douglas Henkin

              •   Dkt. No. 15: David Kornblau

              •   Dkt. No. 18: Stephen Senderowitz

              •   Dkt. No. 31: Mark Califano

              •   Dkt. No. 35: Nicholas Petts

              •   Dkt. No. 39: Matthew Lafferman

              •   Dkt. No. 52: Melissa Gomez-Nelson

              •   Dkt. No. 63: Louis Pellegrino

       5.     Dentons will continue its representation of Defendant Terraform Labs Pte. Ltd.,

and Dentons’ notices of appearance should remain unchanged in that regard.

       6.     The undersigned are not retaining or asserting a charging lien.

       7.     Accordingly, pursuant to Local Rule 1.4, the undersigned respectfully requests

that the Court order the withdrawal of all Dentons attorneys as counsel for Mr. Kwon.




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Dated: January 16, 2024             Respectfully submitted,

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